EXHIBIT Bb

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 2 of 16

frase AVA

Century City

T: 310-203-7980
F: 310-203-7199
kheitz@irell.com

1

Class Action Defense

Litigation
« Mergers & Acquisitions

* Professional Liability
Defense

Securities Law &
Corporate Governance

¢ Harvard University U.D.,
1972), cum laude

* University of California,
Los Angeles (B.A., 1969),
cum laude; Phi Beta
Kappa

Kenneth R. Heitz

Kenneth Heitz is a member of both the
transactions and litigation workgroups. From
1997 to 2003, he was co-managing partner
of the firm.

Mr. Heitz’s recent litigation matters include
acting as lead counsel of securities fraud
claims against a company which issued
collateralized commercial mortgage bonds; lead counsel in a
securities fraud claim involving an electric utility; counsel for
directors in a securities fraud case in the computer industry; lead
counsel in a manufacturing defect claim in the semiconductor
industry with damages in excess of $150 million; and lead
counsel for a public company in a multi-million dollar insurance
claim dispute.

A principal area of Mr. Heitz's expertise is the litigation and
negotiation of transactions involving complex financial
instruments and high yield securities. In that regard, Mr. Heitz
served as executive vice president and general counsel, and for a
short period, acting CEO, of one of the largest investors in high
yield bonds and securitized mortgage obligations from 1988 to
1991. In that capacity, Mr. Heitz led a team which issued the first
collateralized bond offering in the U.S. financial markets.
Subsequently, Mr. Heitz acted as lead counsel to the investors
who purchased Executive Life Insurance Company and its

$5 billion junk bond portfolio in a highly contested insurance
reorganization. He has acted as lead defense counsel in
numerous securities class action cases. Mr. Heitz was also the
lead corporate counsel for the first savings and foan institution
which securitized its claims against the federal government and
has acted as corporate counsel in bond financings of both
established and start up corporations.

One of Mr. Heitz's areas of specialty is in securities litigation,
where he has defended numerous corporations, director or officer
defendants and acted as “shadow counsel." He has frequently
lectured at securities litigation seminars. Mr. Heitz has been

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 3 of 16

Kenneth R, Heitz (continued)

selected for inclusion in The Best Lawyers in America for 2007-2008 in the specialty areas of commercial
litigation and corporate law. Mr. Heitz was also recognized as one of Southern California's “Super
Lawyers" by Los Angeles Magazine in 2006.

In adversarial matters, he has litigated in both state and federal courts in California, Delaware and
Oregon handling both jury and non-jury trials. Mr. Heitz has argued and won appeals in both the Ninth
Circuit and California Courts of Appeal, and has also structured extremely complex multi-party
settlements. In bankruptcy matters, Mr. Heitz served as the principal litigation lawyer (and > i
troubleshooter) in two of the (then) largest Chapter 11 reorganizations and was involved in complex
litigation and negotiation with creditors’ committees. He has represented several prestigious law firms in

the defense of legal malpractice claims brought against them in complex securities law and transactional
contexts.

A principal focus of Mr. Heitz's practice is corporate governance. He is currently lead counsel for the
Terex Audit Committee in an investigation into complex intercompany account imbalances and revenue
recognition questions which have resulted in the restatement of financial statements. He has represented
several other audit committees in similar assignments and has substantial expertise in a wide variety of
complicated corporate accounting issues. Mr. Heitz has represented independent committees of
directors in evaluating derivative claims and related party transactions.

Mr. Heitz has also advised boards of directors (as well as senior management) on such issues as
Sarbanes-Oxley compliance, indemnification and contribution, executive compensation matters, internal
and external investigations and audits, as well as advice to state and regulatory agencies including the
SEC, FTC, IRS, FDIC, FSLIC, FHLBB, OTS and the U.S. Attorney. Mr. Heitz also sits on the board of an
NYSE corporation and has chaired its compensation committee.

Mr. Heitz's recent corporate law matters include the representation of the board of directors of a public
telecommunications company in connection with its successful restructuring and pre-negotiated
bankruptcy reorganization; representation of the outside directors of a private retail company and a REIT
in an investigation of internal management fraud; and the representation of a public company with
respect to hostile takeover inquiries.

On the transactional side of his practice, Mr. Heitz has negotiated terms of merger agreements,
employment continuation and termination arrangements, and has had primary responsibility for
disclosure and compliance aspects of both ongoing corporate reporting and of particular transactions.
He also took the lead in one of the earliest spin-offs of a corporate subsidiary as a separate public
company. Mr. Heitz has also been lead counsel in connection with several major public company

acquisitions. He has also frequently advised independent directors in the context of hostile takeover
proposals.

ire

ein
\ i

Page |

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 4 of 16

ely ils tine yan eee] prea pee ete:
a retro oe Cr

re :

eee courte
* 1972, California
» U.S. District Court, Southern District of California
e U.S. District Court, Northern District of California
« U.S. Court of Appeals, Ninth Circuit
¢ U.S. Supreme Court

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 5 of 16

Teast PNY VAN

Newport Beach
T: 949-760-5242
F: 949-760-5200
jreisner@irell.com

* Creditors' Rights and
Insolvency

« New York University
(oint j.D./M.B.A., 1989),
Clem Miller Scholarship,
Frank S$. Columbus
Scholarship, Alpha
Lambda Delta Honor
Society

* Cornell University (B.5.,
Industrial and Labor
Relations, 1985)

Jeffrey M. Reisner

Jeffrey M. Reisner is a partner and head of
the creditors' rights and insolvency practice
group at Irell & Manella LLP. He specializes
in representing companies and high
net-worth individuals in connection with the
reorganization of their financial affairs, and
as creditors of others in financial distress, Mr.
Reisner also represents creditors’ committees, acquirers of assets,
investors and creditors in bankruptcy cases and out of court
restructurings throughout the United States.

Mr. Reisner's insolvency-related practice includes negotiation and
implementation of bankruptcy plans of reorganization on behalt
of debtors, creditors, and creditors’ committees. In addition, he
has assisted many clients with successful workouts of their
financial affairs and collection of debts outside of the formal
bankruptcy process.

Mr. Reisner’s work with financially distressed companies and
individuals has spanned many industries, including hospitality,
convalescent and health care, technology, building supply,
sporting goods, textiles, distribution, manufacturing, mortgages,
payroll, aerospace, medical testing and devices and real estate.
Mr, Reisner’s practice also includes the acquisition of assets from,
and realization of investment goals in connection with, troubled
companies in these and other industries.

Mr. Reisner is a 1985 graduate of Cornell University, where he
received a bachelor of science degree in Industrial and Labor
Relations. He was a member of New York University’s Joint
Degree Program and received his Juris Doctor and Master of
Business Administration (Finance) degrees in 1989. While
attending Cornell University and New York University, Mr.
Reisner was awarded the Clem Miller Scholarship and the Frank
§. Columbus Scholarship and was elected to membership in
Alpha Lambda Delta Honor Society.

Mr, Reisner has'beepydesignated a "Southern California Super
' Exhibit

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 6 of 16

ny Doo ot : _s peo «

‘

Jeffrey M. Reisner (continued)

Lawyer" by Los Angeles Magazine every year since 2004. Mr. Reisner also has been recognized as a
leading bankruptcy/restructuring lawyer by Chambers & Partners in its Chambers USA Leading
Lawyers for Business Guide in 2006 and again in 2007.

Mr. Reisner’s professional experience is not limited to the practice of law, He founded and managed two
successful businesses and served as a turnaround manager of another prior to joining Irell & Manella.

Recent public matters in which Mr. Reisner has been involved include Edwards Theatres Circuit, Inc.
(Committee counsel); First Alliance Mortgage Company (Debtor’s counsel); Del Taco, inc. (Debtor's
counsel); Brea-Olinda Ventures (counsel for Liquidating Agent); Regal Cinemas (counsel for creditor);
Metricom, Inc. (counsel for shareholder); Cinemastar Luxury Theatres (counsel for equity holders),
Universal Broadband (Committee counsel); Net-tel Corporation (creditor's counsel); Tecstar Power
Systems (Debtor's counsel); Pacific islandia dba Sheraton Anaheim Hotel (Committee counsel); Windsor
Woodmont dba Black Hawk Casino by Hyatt (Debtor's counsel); Centis, Inc. (Committee & Trustee
counsel); IntelliSec, Inc. (Debtor's counsel); Mariners Post-Acute Care Network (creditor's counsel); Leap
Wireless International, Inc. (Committee counsel); Spectrum Restaurant Group (Committee counsel):
Chevy's Restaurants (Committee & Trustee counsel); Spalding (counsel for investment banker); Pillowtex
(counsel for investment banker); SeraCare (counsel for secured creditors); Werner Holdings (counsel for
senior bondholder); Rapid Payroll (Debtor's counsel); Imperial Credit Industries (counsel for Chapter 7
Trustee).

_—eoe

Mr. Reisner is an active member of the Financial Lawyers’ Conference, the Los Angeles County Bar
Association (Commercial Law and Bankruptcy Section), the Orange County Bar Association, the Los
Angeles Bankruptcy Forum, and the Orange County Bankruptcy Forum. He is a member of the Board of
Directors for the Southern California Chapter of the Turnaround Managers’ Association and is past
president of the Southern California Chapter of the New York University Stern School of Business Alumni
Association. Mr. Reisner is a founding member of the Next Generation Bankruptcy Lawyers’ Association
and a member of the Kappa Sigma Fraternity.

Mr. Reisner authored or contributed to the following publications: "Consumer Protection and Electronic
Sales," Multimedia and Web Strategist, 1997; "California Extends Consumer Protection to Internet-Related
Sales, The Internet Newsletter, 1997; Contributor, “Advanced Chapter 11 Bankruptcy Practice," 1996;
"No Benefit Needed: Full Rent Due for Post-Petition Occupancy," The Bankruptcy Strategist, 1994.

His most recent appearances as a public speaker include the American Bankruptcy Institute's 2007
Bankruptcy Battleground West program “Gearing up for Real Estate Insolvencies’; Los Angeles Private
Equity Exchange's 2006 Program entitled"How-to Profit Fram-the Bankruptcy Law*; the Association of

Exhibit

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 7 of 16

Jeffrey M. Reisner continued

Insolvency Restructuring Advisor's 2006 program entitled "The Effects of the BAPCA Amendments on
Retail Insolvencies"; the Turnaround Managers’ Association's January 2002 program entitled “Lights Out:
Restructuring issues in the Theatre Industry" and The Strategic Research Trust's January 2002 program
entitled "Corporate Restrucuring and High Yield Debt: Crisis at Maturity," and California Education of the |
Bar's 2003 programs "The Impact of Bankruptcy on Real Property Law." In 2003, Mr. Reisner presented a
seminar to the American Bar Association's Business Division on trademark and bankruptcy law in
California.

Mr. Reisner also recently served on the Board of Advisors for the American Bankruptcy Institute’s 2002 -
2007 “Bankruptcy Battleground West" programs.

1989, California
1990, District of Columbia

1990, U.S. District Court, Central District of California; U.S. Court of Appeals, Ninth Circuit

1991, U.S. District Court, Northern District of California

1992, U.S. District Court, Southern and Eastern Districts of California

| Exnibit___ :
| Page

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 8 of 16

wee at Re Dottie . : Loo . rb pofoM bonuses Soper beat?

rae YA VAN

Marc S. Maister

Marc Maister is a partner with Irell &
Manella LLP. He is a member of the
litigation group and head of the insurance
Century City group. He specializes in handling

T: 310-277-1010 high-profile insurance matters and general

F: 310-203-7199 civil litigation. He is currently defending
mmaister@irell.com several legal malpractice claims and is defending several
consumer class action claims. He also assists clients, brokers and
risk managers with the structuring of insurance programs and
works with our transactional attorneys on various sophisticated
insurance matters.

Newport Beach
T: 949-760-5283
F: 949-760-5200

« Insurance
+ Litigation Mr. Maister has been named among Southern California Super

Lawyers "Top 50 of Orange County" by Los Angeles Magazine in
2007. He was also named to the Los Angeles Daily journal’s “Top
20 Lawyers Under 40,” its list of the top 20 California attorneys
under 40 years of age. In addition, Mr. Maister has been included

« University of California,

Berkeley (Boalt Hall) in the prestigious publication The Best Lawyers in America 2006
(.D., 1991), Order of the for insurance.

Coif; Recipient of the . . , . .

American Jurisprudence Mr. Maister's expertise in matters involving business and property
Honors Award in insurance is widely recognized. Both business entities and
Property, Legal Writing, individuals involved in complex business litigation frequently

Evidence, Corporations,
Will and Trusts, and
Commercial Transactions
* University of
Witwatersrand

retain Mr. Maister to identify and assist them in pursuing coverage
under policies of commercial general liability insurance,
professional liability insurance, fidelity and crime insurance,
directors and officers liability insurance, multi-media Insurance,

Johannesburg, South employment practices liability insurance, environmental |
Aftica) (B.A © eines insurance, and umbrella and excess liability insurance. Clients
Commerce, 1 987) have also sought his help in obtaining benefits under policies of

life insurance, fire and multi-peril Insurance, business interruption
and extra expense insurance, and marine insurance. When
necessary to recover policy benefits, Mr. Maister leads the
insurance group in representing clients in litigation against
insurers in both state and federal courts across the country, as
well as in arbitration proceedings.

Rte FP fa ae ere ames te
sete og

Mr. Maister algo Assisi CIISAIS if7 evaluating their insurance needs
i spe i
Exhibit i

4
t

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 9 of 16

tees

Marc S. Maister {continued)

before losses occur or claims have been asserted. He heads a group of attorneys who are experienced in
reviewing a Client's current coverage and evaluating whether it provides sufficient protection against loss
and liability. They also negotiate and enforce various agreements pertaining to self-insured retentions,
minimum premium arrangements, captive insurance and reinsurance programs, group and association
agreements, and similar arrangements.

A few of the recent matters handled by Mr. Maister and our Orange County attorneys include the
following:

Litigating a claim for several hundred million dollars in connection with Hurricane Katrina on
behalf of Pinnacle Entertainment.

Litigating a large claim for The Flintkote Company seeking insurance coverage for asbestos claims.

Representing the County of San Bernardino on several insurance recovery matters.

Representing a claimant in the Highlands Insurance Company receivership proceedings.

Defending several apartment management entities in defense of class action ICRA claims.

Defending an international law firm on several legal malpractice claims.

Successfully retaining insurance coverage on behalf of a client and negotiating a settlement in the
then-largest ERISA case in the country.

Successfully obtaining insurance coverage indemnity contribution on behalf of clients and payment
of defense costs in numerous construction defect actions.

Assisting numerous entertainment clients such as CBS, Viacom and Paramount Pictures and others
with various insurance issues, including acting for some of these clients as coverage counsel.

Active in the professional community, Mr. Maister is a member of the American Bar Association and the
Orange County Bar Association. He is also a past co-chair of the Orange County Bar Association
Insurance Law Section, a member of the State Bar of California, and a member of the Mealey's
Publications Insurance Advisory Council. In addition, he lectured for two years on insurance law at the
UCLA School of Law. He is also a member of the advisory committee for the Appleman Editorial Board.

Mr. Maister is the recipient of the American Jewish Committee's Judge Learned Hand Award for
community service, January, 2006.

Case 07-10416-BLS Doc 641-3 FiledO

Poy Fe ee et

5/11/07 Page 10 of 16

Marc S. Maister (continues

*

"The Choice of Law Conundrum," Appleman Editorial Board, 2006.
Co-author of the chapter on insurance coverage for Nimmer on Copyright, release 70 (2006).
"Insurance Litigation 2004," panelist, CJA/TheRutter Group, January 2004.

“Corporate Governance Conference," speaker, CLE International, November 2002 and March
2004.

"Mold Insurance Litigation," speaker, Bridgeport Continuing Education, March 2003.
"Employment Practices Liabilities and Coverage Conference," Mealey‘s Publications, january 2003.

"Directors & Officers Liability In Turbulent Times ~ The Sarbanes-Oxley Act of 2002-The Role of

Independent Directors and the Changing D&O Insurance Marketplace," speaker, DLD Insurance
Brokers, November 2002.

"identifying and Using Insurance Coverage in Business Litigation," CEB program, March 2002 and
Fall 2003.

"California Insurance Conference," Mealey’s Publications, July 2001.

"The Executive Management Liability Landscape," Aon Risk Management Services, June 2001.
"Eundamentals of Insurance Litigation,” CEB program, April 2001.

"Vear 2000 Insurance Seminar,” speaker, Mealey's Publications, July 1999.

"USC Institute for Corporate Counsel seminar," speaker, March 4-5, 1999.

"Construction Defect: Litigation and Coverage Conference," Mealey's Publications, December 3-4,
1998 (co-chair in 1999).

"Identifying and Using Insurance Coverage in Business Litigation," CEB program, July 1998.
"Insurance Coverage Seminar," speaker, Mealey's Publications, 1996, 1997 and 1998.

"Birth of an Insurance Claim--The Trigger of Coverage and the Tender of a Claim to the Insurer,"
American Bar Association, 1995.

"Trigger of Coverage: A Contract A

pproach," article, American Bar Association, Summer 1995.
en unas ea : ay

ry i

» 1991, California

» 1995, U.S. Supreme Court; U.S. District Court, Central District of California
* 2004, U.S. District Court, Northern District of California

E ex |

Page

NN

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 11 of 16

[rao eae NAVAN

Stephanie Kaufman

Century City | Ms. Kaufman specializes in antitrust litigation and regulatory

F: 310-203-7059 compliance. Her practice consists of litigating antitrust claims,
F: 310-203-7199 frequently those brought in conjunction with patent litigation. In
skaufman@irell.com addition, she works with clients to achieve their marketing and

transactional goals within the parameters of the federal and state
antitrust, unfair competition, and advertising laws.

Ms. Kaufman regularly consults with entities ranging from large
Fortune 500 clients to newer Internet start-ups on issues such as

»* Antitrust dealer terminatiori, price discrimination, and formation and

+ Litigation implementation of cooperative advertising and pricing policies.
She has been involved in all aspects of the merger review process,
including the preparation of Hart-Scott-Rodino notification forms,
responding to “second requests” for information, and negotiating
resolutions to government investigations.

« White Collar Defense

« Georgetown University
Law Center (}.D., 19923;

Managing Editor of the . ,
Georgetown Law Journal Magazine, Ms. Kaufman was recognized as one of Southern

California’s “Rising Stars” in litigation.

In a 2005 and 2006 survey of her peers published in Los Angeles

¢ University of
Pennsylvania Wharton
School of Business and
1 School of Arts and
Sciences (B.A., Finance
and English)

* 1992, California

Exhibit
Page

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 12 of 16

sds eae YA VAN

Century City

T: 310-203-7945

F: 370-203-7199
tkirschbaum @irell.com

« Employee Benefits &
Executive Compensation

« Labor & Employment
* Tax

« UCLA School of Law
(.D., 1977), Member of
the UCLA Law Review,
Member of the UCLA
Moot Court Honors
Program

* Amherst College (B.A.,
1974), magna cum laude

Thomas A. Kirschbaum

Thomas A. Kirschbaum has more than 25 years of experience in
designing and drafting all kinds of employee benefits plans for all
types and sizes of employers. His clients include large and small
employers, start-up and well-established employers, public and
private employers, tax-exempt employers, and high-tech and
smokestack employers. Whatever the type and size of employer,
he prides himself in giving practical and understandable legal
advice about designing, operating, and maintaining employee
benefits plans to achieve their business objectives and to comply
with tax, labor, securities, corporate, estate planning, and other
applicable laws.

He deals with all types of plans, including:

e Broad-based pension plans, profit-sharing plans, 401 (k)
plans, ESOPs, Section 403(b) tax-deferred annuities, and
Section 457 plans;

* Welfare plans, such as medical, dental, life insurance,
severance, disability and cafeteria plans, and VEBAs;

« Equity-based compensation, such as stock option plans
(including ISO plans), restricted stack, stock appreciation
rights, phantom stock plans, and Section 83; and

* Executive compensation plans, including “top hat” plans,
deferred compensation plans, SERPs, golden parachutes,
bonus and incentive plans, executive employment
agreements, rabbi trusts, and fringe benefits.

Mr. Kirschbaum gives practical and understandable legal advice
regarding matters such as QDROs, COBRA, investment of plan
assets, prohibited transactions and other fiduciary rules, reporting
and disclosure, UBT], lump-sum distributions, rollovers, annuities,
minimum distributions, excess assets, coverage and
antidiscrimination rules, and IRAs.

He has extensive experience in getting employers and plans out of
hot waterwith the IRS-ancthe-Bepartment of Labor, including the
handling of aud procedures such as EPCRS

u its ape remedial

Exhibit

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 13 of 16

4

Thomas A. Kirschbaum continued)

procedures. He has represented clients on the benefit aspects of corporate mergers and acquisitions of
all types involving billions of dollars and on the mergers of plans.

Mr. Kirschbaum has published many articles and has lectured widely on employee benefits topics.
Subjects on which he has written and spoken in recent years include Section 409A and stock option
pricing, individual direction of 401(k) investments, employee benefits in mergers and acquisitions, and
prevention of 401(k) plan disasters through the EPCRS program.

The organizations and titles for which Mr. Kirschbaum has lectured and published include the American
Law Institute/American Bar Asseciation Advanced Law of Pensions course, the UCLA Anderson School of
Management, the Society of Actuaries, the Los Angeles Daily Journal, the USC Tax Institute, the USC
institute for Corporate Counsel, the California Society of CPAs, the ASPA/IRS Los Angeles District Benefits
Conference, the National Institute of Pension Administrators, the California Continuing Education of the
Bar, the Employee Benefits Committee of the Taxation Section of the State Bar of California, the
Employee Benefits Committee of the Tax Section of the Los Angeles County Bar Association, the
Employee Benefits Section of the Beverly Hills Bar Association, the Southern California Income Tax
Forum, and the Western Pension and Benefits Conference.

Mr. Kirschbaum has been recognized as a leading employment/benefits & compensation lawyer by
Chambers & Partners in its Chambers USA Leading Lawyers for Business Guide in 2006 and again in
2007. Mr. Kirschbaum is listed in The Best Lawyers in America and has been designated a "Southern
California Super Lawyer" by Los Angeles Magazine in 2007. He is also a Fellow of the American College
of Employee Benefits Counsel.

» 1977, California
* 1982, U.S. Tax Court

( — ee
| Exhibit

eameenamncmcillaNE

hee GU er

Page

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 14 of 16

fede a NYA VAN ol

Brian Z. Bark

Brian Bark is an associate in the Newport
Beach office of lrell & Manella LLP, and is a
member of the firm's litigation and insurance
workgroups.

Newport Beach

T: 949-760-5203
F: 949-760-5200
bbark@irell.com

Mr. Bark's insurance practice focuses on
litigating complex first-party and third-party
insurance coverage disputes. Mr. Bark also
routinely reviews insurance programs, policy language, and
insurance requirements in contracts. Mr. Bark has given numerous
lectures on insurance law including, “Identifying and Using
insurance Coverage in Business Litigation” (presented at CEB,
2002). Mr. Bark’s publications include EPL insurance — Punitive

« Insurance
Litigation

* UCLA School of Law Damages, Intentional Acts and Public Policy (Presented at
§.D., 2001); Order of the Mealey's, 2002).
Coif

California State
University, Fullerton . oo,
(B.A., Economics, 1995) « 2001, California

* 2001, U.S. Court of Appeais, Ninth Circuit; U.S. District Court,
Central District of California

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 15of1

Bet

Glenn K. Vanzura

Glenn Vanzura is a litigation associate in the
Los Angeles office of Irell & Manella LLP,
where he specializes in securities litigation
and white collar defense.

Century City

T: 310-203-7124

F: 310-203-7199
gvanzura@irell.com

Mr. Vanzura represents a range of clients,
including the former administrator of a major
public employee retirement system, a
venture capital firm, and a telecommunications equipment
provider. Mr. Vanzura also advises on securities mediations,

¢ White Collar Defense particularly in the area of damages.

Fa

pieces

* Litigation
« Securities Litigation

Prior to joining trell & Manella, Mr. Vanzura was a research
associate with Cornerstone Research, an economics and litigation
consulting firm specializing in complex business litigation. Mr.

« Stanford Law School,

(.D., 2008) duated Vanzura’s practice at Cornerstone focused on securities and

D. a . . se . :

with distinct recipient antitrust matters, and involved him in industries as diverse as the
of Hilmer OehImann, Ir. commercial airline, digital music, fast food franchise, real estate,
Award for legal research and professional sports industries.

and writing excellence,
Articles Editor for the
Stanford journal of Law,
Business & Finance, Vice
President of the Stanford
Law and Business Society

* 2005, California

* University of California,
Los Angeles (B.A.,
Business Economics)

Case 07-10416-BLS Doc 641-3 Filed 05/11/07 Page 16 of 16

Schedule of Guideline Hourly Rates

Kenneth R. Heitz — $790
Jeffrey M. Reisner ~ $625
Marc S. Maister - $780
Stephanie Kaufman - $610
Thomas Kirschbaum - $690
Brian Z. Bark - $530

Glenn K. Vanzura - $365

